       Case 4:20-cv-01195 Document 46 Filed on 10/06/21 in TXSD Page 1 of 4




                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

NORTHSTAR BUNKER N.V.                                     §
    Plaintiff,                                            §
                                                          §
V.                                                        §
                                                          §
PRAXIS ENERGY AGENTS, L.L.C.                              §
         Defendant                                        §
------------------------------------------------------------       C.A. No. 4:20-CV-01195
PRAXIS ENERGY AGENTS, LLC                                 §
         Third-Party Plaintiff,                           §        Rule 9(h) Admiralty
                                                          §
V.                                                        §
                                                          §
M/T ANDIMILOS, IMO No. 9282998,                           §
her engines, freights, apparel,                           §
appurtenances, tackle, etc., in rem, and                  §
VENETIKO SHIPPING CORPORATION, §
in personam,                                              §
         Third-Party Defendants.                          §

       JOINT MOTION TO DISBURSE FUNDS FROM THE COURT’S REGISTRY

         COMES NOW, Venetiko Shipping Corporation (“Venetiko”), Northstar Bunker N.V.

(“Northstar”), and Praxis Energy Agents, LLC (“Praxis”), by and through undersigned counsel

who jointly move this Honorable Court for an Order disbursing funds currently held in the registry

of the Court.

                           RELEVANT PROCEDURAL BACKGROUND

         On April 3, 2020, Northstar sued Praxis, asserting a breach of contract claim for unpaid

bunker fuel. Doc. 1. On May 20, 2020, Praxis filed a third-party complaint, thereby tendering

Northstar’s claims to Venetiko. Doc. 9. On June 24, 2020, Venetiko deposited $685,000 into the

registry of the Court as substitute security for the M/T ANDIMILOS in accordance with this

Court’s order. Doc. 13.
      Case 4:20-cv-01195 Document 46 Filed on 10/06/21 in TXSD Page 2 of 4




                                            ARGUMENT

        The parties have resolved all disputes related to this action and jointly move the Court for

an Order authorizing the $685,000.00, including all interest earned, to be disbursed in two separate

checks, on the grounds that the parties have reached an agreement regarding the disposition of the

funds in the Court’s Registry as follows:

        1)       Northstar is to receive a check from the funds on deposit in the amount of

$425,000.00, made payable to “Meyer Orlando LLC, as attorneys,” and mailed or delivered to

Michael Orlando, Esq. at Meyer Orlando LLC, 13201 Northwest Freeway, Suite 119, Houston,

Texas 77040;

        2)       Venetiko is to receive a check on the remaining balance of the funds on deposit—

$260,000.00—plus all interest accrued on the funds on deposit to date, made payable to “Royston,

Rayzor, Vickery & Williams, LLP, as attorneys,” and mailed or delivered to Dimitri P. Georgantas,

Esq. at Royston, Rayzor, Vickery and Williams, LLP, 1600 Smith Street, Suite 5000, Houston,

Texas 77002.

        Following disbursement of the funds, the parties will file an appropriate Joint Stipulation

of Dismissal with the Court.

                                         CONCLUSION

        WHEREFORE, PREMISES CONSIDERED, Venetiko, Northstar, and Praxis pray for an

Order directing the Clerk of Court to disburse the funds on deposit by issuing the two (2) separate

checks as requested above, all as set forth in the attached proposed Order.




64148:45642136                                   2
      Case 4:20-cv-01195 Document 46 Filed on 10/06/21 in TXSD Page 3 of 4




Respectfully submitted,

 ROYSTON, RAYZOR, VICKERY & WILLIAMS, LLP CHALOS & CO, P.C.

 /s/ Dimitri P. Georgantas                         /s/ Briton P. Sparkman         *
     Dimitri P. Georgantas                              George M. Chalos
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                                                   AGENTS, LLC
 ATTORNEYS FOR VENETIKO SHIPPING
 CORPORATION

 MEYER ORLANDO LLC

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 ATTORNEYS FOR NORTHSTAR BUNKER
 N.V.

 * Signed with permission




64148:45642136                                 3
      Case 4:20-cv-01195 Document 46 Filed on 10/06/21 in TXSD Page 4 of 4




                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 6th day of October, 2021, I served a true and correct copy of the
foregoing, via the CM/ECF system, which will send an electronic notice of filing to all counsel of
record.

                                               /s/ Dimitri P. Georgantas
                                               Dimitri P. Georgantas




64148:45642136                                    4
